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 6   Attorney for Defendant
     SHERLYN CHARLES
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10                                                   )
     UNITED STATES OF AMERICA                            Case No.: 2:14-cr-0239−GEB
                                                     )
11                                                   )
                           Plaintiff,                    STIPULATION AND ORDER TO
                                                     )   CONTINUE STATUS CONFERENCE
12                                                   )
     vs.                                             )
13                                                   )
     SHERLYN CHARLES,                                )
14                                                   )
                  Defendant
                                                     )
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            The United States of America, through its counsels of record, Mc Gregory W. Scott,
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     United States Attorney for the Eastern District of California, and Jason Hitt, Assistant United

19   States Attorney, and defendant Sherlyn Charles, through her attorney, Ronald Peters, Esq, hereby
20   stipulate and agree that the sentencing scheduled for March 1, 2019 at 9:00 am shall be
21
     continued to April 5, 2019 at 9:00 am.
22
            Defendant needs additional time to prepare a Memorandum in Aid of Sentencing
23

24   primarily addressing 3553 factors.

25          Accordingly the defendant agrees that a Local Rule T-4 exclusion would be applicable.
26
            Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
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                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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 1   Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that
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     time be excluded under this provision March 1, 2019 through April 5, 2019.
 3
                                                         Respectfully Submitted,
 4                                                       MC GREGORY W. SCOTT
 5
                                                         United States Attorney

 6
     DATE: February 26, 2019                             /s/ Ron Peters for Jason Hitt    _
 7                                                       JASON HITT
 8                                                       Assistant U.S. Attorney

 9
     DATE: February 26, 2019                             /s/Ron Peters                   __
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                                                         RON PETERS
11                                                       Attorney for Defendant
                                                         Sherlynn Charles
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                              STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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 1                                                      ORDER
 2
             The Court, having considered the stipulation of the parties, and good cause appearing
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     therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the stipulation
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 5
     of the parties, the Court finds that the failure to grant a continuance in this case would deny

 6   defense counsel reasonable time necessary for effective preparation, taking into account the
 7   exercise of due diligence, and defendant continuity of counsel. The Court specifically finds that
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     the ends of justice served by the granting of such continuance outweigh the interests of the public
 9
     and that the time from the date of the stipulation, February 26, 2019, to and including April 5,
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11   2019.

12           It is so ordered.
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     Dated: February 27, 2019
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                                 STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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